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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division


JOETTE PETE,

     Movant,

V.                                               Misc. No. 3:19-mc-26

BIG PICTURE LOANS, LLC, et al..

     Respondents.




LULA WILLIAMS, at al.,

     Plaintiffs,

V.                                      Civil Action No. 3:17-cv-461

BIG PICTURE LOANS, LLC, at al.,

     Defendants.




RENEE GALLOWAY, et al..

     Plaintiffs,

V.                                      Civil Action No. 3:18-cv-406

BIG PICTURE LOANS, LLC, et al..

     Defendants.


                                   ORDER


     The parties not having filed a notice in response to ORDER (Pete

V. Big Picture Loans, LLC, 3:19-mc-26 (E.D. Va.) ("Pete"), ECF No.

39; Williams v. Big Picture Loans, LLC, 3:17-cv-461 (E.D. Va.)

("Williams"), ECF No. 855; Galloway v. Big Picture Loans, LLC, 3:18-
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